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                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION



JODY K. MOSLEY,

                  Plaintiff,

v.                                                                               Case No. 1:17-CV-75

CHRIS BLOOD,                                                                     HON. GORDON J. QUIST

                  Defendant.
                                    /

                                                    OPINION

         Plaintiff, Jody K. Mosley, proceeding pro se, has filed a one-page complaint against Chris

Blood, who apparently is a supervisor for protective services under the Friend of the Court for

Ingham County Circuit Court, which alleges:

         Mr. Chris Blood, protective service has violated my rights, he got rid of files
         contanting [sic] the creditbillity [sic] of baby mom, violating my rights plus
         removing case form’s [sic] about my baby mother[,] Detrisus L. Goldman, making
         me lose custody but most of all my rights to be a father to my kids, they violated my
         right and false railroaded me under Judge R. Garcia. Now my kids are not even in
         Lansing.

(ECF No. 1.) The only relief Mosley requests is “criminal charges.”1 (Id.)

         On January 24, 2017, the magistrate judge issued an order granting Mosley leave to proceed

in forma pauperis. (ECF No. 4.) Pursuant to 28 U.S.C. § 1915(e)(2), the Court is required to

dismiss any action brought under federal law if the complaint is frivolous, malicious, fails to state

a claim upon which relief can be granted, or seeks monetary relief from a defendant immune from

such relief. 28 U.S.C. § 1915(e)(2); see also Benson v. O'Brian, 179 F.3d 1014, 1016 (6th Cir.



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          This is one of nine cases that Mosley filed in this Court in January of 2017. The Court previously dismissed
Case Nos. 1:17-CV-7, 9, 10, 11, and 13 on February 17, 2017.
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1999) (holding that "§ 1915(e)(2) applies only to in forma pauperis proceedings"). The Court must

read Podewell’s pro se complaint indulgently, see Haines v. Kerner, 404 U.S. 519, 520, 92 S. Ct.

594, 596 (1972), and accept his allegations as true, unless they are clearly irrational or wholly

incredible. Denton v. Hernandez, 504 U.S. 25, 33, 112 S. Ct. 1728, 1733 (1992).

       For the reasons set forth below, Mosley fails to state a claim and his complaint must be

dismissed as required by § 1915(e)(2).

       A complaint may be dismissed for failure to state a claim if “‘it fails to give the defendant

fair notice of what the . . . claim is and the grounds upon which it rests.’” Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 45-46 (1957). While

a complaint need not contain detailed factual allegations, a plaintiff’s allegations must include more

than labels and conclusions. Twombly, 550 U.S. at 555; Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(“Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

do not suffice.”). A court must determine whether the complaint contains “enough facts to state a

claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Ashcroft, 556 U.S. at 678.

Although the plausibility standard is not equivalent to a “‘probability requirement,’ . . . it asks for

more than a sheer possibility that a defendant has acted unlawfully.” Id. (quoting Twombly, 550

U.S. at 556). “[W]here the well-pleaded facts do not permit the court to infer more than the mere

possibility of misconduct, the complaint has alleged – but it has not ‘show[n]’ – that the pleader is

entitled to relief.” Id. at 679 (quoting FED. R. CIV. P. 8(a)(2)).

       Mosley fails to allege sufficient facts giving rise to a claim under federal law. He refers to

violation of his rights, but fails to state what rights were violated or cite the law under which such


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rights arise. “Although pro se pleadings are to be liberally construed, courts are not required to

conjure up unpleaded allegations or guess at the nature of an argument.” Brown v. Cracker Barrel

Rest., 22 F. App’x 577, 578 (6th Cir. 2001) (citing Wells v. Brown, 891 F.2d 591, 594 (6th Cir.

1989)). In addition, it appears that Mosley is complaining about harm from a state-court judgment.

If so, his complaint is barred by the Rooker-Feldman doctrine. The Rooker-Feldman doctrine has

its roots in the Supreme Court's decisions in District of Columbia Court of Appeals v. Feldman, 460

U.S. 462, 103 S. Ct. 1303 (1983), and Rooker v. Fidelity Trust Co., 263 U.S. 413, 44 S. Ct. 149

(1923), and provides that lower federal courts are without authority to review final judgments of

state courts in judicial proceedings. This is because “only the Supreme Court of the United States

has the jurisdiction to review state court decisions.” Coleman v. Governor of Mich., 413 F. App’x

866, 870 (6th Cir. 2011) (citing Rooker, 263 U.S. at 416, 44 S. Ct. at 150)); see also Givens v.

Homecomings Fin., 278 F. App’x 607, 608–09 (6th Cir. 2008). The Supreme Court has clarified

the scope of the doctrine, confining it to “cases brought by state-court losers complaining of injuries

caused by state-court judgments rendered before the district court proceedings commenced and

inviting district court review and rejection of those judgments.” Exxon Mobile Corp. v. Saudi Basic

Indus. Corp., 544 U.S. 280, 284, 125 S. Ct. 1517, 1521-22 (2005). In light of Exxon Mobile, the

Sixth Circuit “distinguishe[s] between plaintiffs who bring an impermissible attack on a state court

judgment—situations in which Rooker-Feldman applies—and plaintiffs who assert independent

claims before the district court—situations in which Rooker-Feldman does not apply.” Kovacic v.

Cuyahoga Cnty. Dep’t of Children & Family Servs., 606 F.3d 301, 309 (6th Cir. 2010). The Rooker-

Feldman doctrine appears to bar Mosley’s claim because he complains about injury caused by a

state-court judgment—on that caused him to lose custody of his children.




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        Finally, Mosley may not use this civil proceeding to bring criminal charges and, in fact, “[i]n

his capacity as a private citizen, [Mosley] lacks standing and legal authority to initiate or compel the

initiation of federal criminal proceedings against defendant [Monski].” Theriot v. Woods, No. 2:09-

cv-199, 2010 WL 623684, at *13 (W.D. Mich. Fe b. 18, 2010).

        An Order consistent with this Opinion will be entered.



Dated: March 6, 2017                                          /s/ Gordon J. Quist
                                                             GORDON J. QUIST
                                                        UNITED STATES DISTRICT JUDGE




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